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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF OKLAHOMA

 RICHARD GLOSSIP, et al.,                   )
                                            )
         Plaintiffs,                        )
                                            )
               vs.                          )       Case No. CIV-14-665-F
                                            )
 RANDY CHANDLER, et al.,                    )
                                            )
         Defendants.                        )

     JOINT NOTICE REGARDING PLAINTIFFS’ MOTION TO COMPEL (DOC. 611)

        On February 23, 2022, this Court ordered the parties to appear, in the person of at

least one counsel of record from each side, at this Court’s chambers at 12:30 p.m. on

February 24, 2022, to discuss the matters presented in Plaintiffs’ Motion to Compel

Production of Materials Concerning the Executions of Bigler Stouffer, Donald Grant, and

Gilbert Postelle. (Doc. 625; Doc. 611). This Court also set a hearing to address any

unresolved matters regarding Plaintiffs’ Motion to Compel at 2:00 p.m. on February 24,

2022. (Doc. 625). After conferring, the parties inform the Court of the following:

1.      As of the filing of this Notice, Defendants provided to Plaintiffs documents and

        things requested in Plaintiffs’ Motion to Compel (Doc. 611) except for Donald

        Grant’s and Gilbert Postelle’s autopsy and toxicology reports. Defendants have

        confirmed that “with respect to the J. Grant, Stouffer, and D. Grant executions, we

        have provided all execution logs, all EKG/pulse oximeter and blood pressure data

        whether in photos of strips and otherwise, and any photos or videos of the execution

        or the body after execution of which we are aware. . . . With the most recent


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     production, we have also produced all such remaining materials for the Postelle

     execution.” (Exhibit 1, emails between Plaintiffs’ counsel Emma Rolls, Defendants’

     counsel Mithun Mansinghani, and counsel for the Oklahoma Chief Medical

     Examiner, (OCME), Devan Pederson dated February 21-23, 2022).

2.   In response to Ms. Rolls’s February 21, 2022 email, in which she inquired whether

     the OCME generates preliminary reports within 48 hours of death, Mr. Mansinghani

     copied Assistant Attorney General Devan Pederson, counsel for the OCME, and

     suggested Mr. Pederson might be able to provide further details about the

     availability of any preliminary reports. (Exhibit 1).

3.   On February 23, 2022, Mr. Pederson responded that “OCME doesn’t do preliminary

     reports. I will let you know as soon as the D. Grant report is ready. It could be within

     the next ten days.” (Exhibit 1). In a later response to Ms. Rolls’s email inquiring

     about the timing of the autopsy and toxicology reports for Gilbert Postelle, Mr.

     Pederson stated “I’m not sure on that one. I would guess 30-45 days from now at

     best.” (Exhibit 1).

4.   Ms. Rolls twice asked whether Defendants would be willing to join Plaintiffs in a

     request to the Court to keep the record open for the trial scheduled to begin February

     28, 2022, until Plaintiffs are able to present the autopsy and toxicology reports of

     Messrs. Postelle and D. Grant through expert testimony. Doing so would likely

     involve holding the record open to allow scheduling a partial day of testimony on

     these reports before closing the record. Defendants object to keeping the record

     open. (Exhibit 1; see also Doc. 617 at 5-6, in which Plaintiffs requested an

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       opportunity to supplement the trial record with the autopsy and toxicology reports

       for Messrs. Postelle and D. Grant).

       As the only remaining issue is whether the Court will keep the trial record open so

that Plaintiffs are able to present the autopsy and toxicology reports of Messrs. Postelle and

D. Grant through expert testimony, the parties believe that the meeting between the parties

currently set for February 24, 2022 at 12:30 p.m. is unnecessary. The parties are willing to

appear for such meeting should this Court believes it is still necessary and will appear for

the hearing currently scheduled for February 24, 2022 at 2:00 p.m.

       Respectfully submitted this 23rd day of February, 2022.



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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of February, 2022, I electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing and transmittal

of Notice of Electronic Filing to all counsel of record who are registered participants of the

Electronic Case Filing System.


                                    s/ Emma V. Rolls




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